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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF CONNECTICUT


     VERONICA-MAY CLARK,

          Plaintiff,                                     Case No. 3:19-cv-575-VAB

     v.

     ANGEL QUIROS, DR. GERALD VALLETTA,
     RICHARD BUSH, and BARBARA KIMBLE-
     GOODMAN,                                            July 15, 2024

          Defendants.


                           WRIT OF HABEAS CORPUS AD TESTIFICANDUM

      TO   ANGEL     QUIROS,   COMMISISONER   OF                           CORRECTION,   STATE   OF
CONNECTICUT,     OR     WARDEN   JENNIFER   REIS,                          CHESHIRE    CORRECTIONAL
INSTITUTION, GREETINGS:

    BY THE AUTHORITY OF THE UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICUT, you are hereby commanded to deliver the plaintiff, VERONICA-MAY

CLARK, #355139, to appear before the United States District Court for the District of Connecticut located at

141 CHURCH STREET, NEW HAVEN, CT, on July 17, 2024 at 8:00 A.M. and July 18, 2024 at 12PM, so that

she will be present for the hearing in the above-captioned matter and to be returned to your

custody at the conclusion of said hearing. This is a federal civil matter so the Connecticut

Department of Correction         (DOC)    must    provide    transportation     directly   to   the     Federal

Courthouse, 141 Church Street, New Haven, CT.                  One or more corrections officers must be

assigned to the plaintiff named herein for the duration of the proceedings. The United States Marshals

will not transport the plaintiff. The plaintiff is permitted to wear her normal tan uniform for the duration

of the court proceeding. The clerk is directed to fax a copy of this writ directly to the facility listed

above, Cheshire Correctional Institution, at (203) 651-6069.

           Dated at New Haven, Connecticut, this 15th day of July, 2024.

                                                                            /s/ Victor A. Bolden
                                                                           ______________________
                                                                           Victor A. Bolden, U.S.D.J.
